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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11                                                     No. 2:14-cr-00245 KJM
      UNITED STATES OF AMERICA
12
                         Plaintiff,
13                                                     ORDER
             v.
14
      PEDRO LOPEZ SANCHEZ,
15
                         Defendant.
16

17                  Defendant Pedro Lopez Sanchez, proceeding pro se, moves for a second time to

18   reduce his sentence under 18 U.S.C. § 3582(c)(2). Mot., ECF No. 150. The government opposes

19   the motion. Opp’n, ECF No. 152. As explained below, defendant’s motion is DENIED.

20                  Unlike his first motion to reduce sentence, see ECF No. 95, defendant seeks a

21   sentence reduction based on the Supreme Court’s ruling in Hughes v. United States, 138 S. Ct.

22   1765 (2018). Hughes, however, does not alter the court’s analysis set forth in its prior order

23   resolving defendant’s first motion. ECF No. 137. It is true, as the Hughes court held, that a

24   Type-C plea agreement, one entered in to under Federal Rule of Criminal Procedure 11(c)(1)(C),

25   renders a defendant eligible for consideration of a reduction under § 3582(c)(2) so long as the

26   agreement was “based on” the applicable sentencing guideline range. Hughes, 138 S. Ct. at 1775.

27   Nonetheless, in considering resentencing under § 3582(c)(2), the court still must undergo the two-

28   step analysis required by Dillon v. United States, 560 U.S. 817 (2010). See United States v.
                                                       1
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 1   Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013) (“The Supreme Court has clarified that § 3582(c)(2)
 2   requires a two-step inquiry.” (citing Dillon, 560 U.S. at 826)).
 3                  Here, defendant’s eligibility for consideration under § 3582(c)(2) is not disputed.
 4   See generally Opp’n (raising no argument defendant’s Type-C plea agreement was not “based
 5   on” the applicable sentencing guidelines). Rather, the government renews its argument that under
 6   the first Dillon step, asking whether a sentence reduction is consistent with U.S.S.G. § 1B1.10,
 7   defendant does not qualify for a reduction because no guideline amendment has the effect of
 8   lowering defendant’s applicable guideline range. Opp’n at 3–4. In its prior order, the court
 9   explained that it necessarily considered Amendment 782 to U.S.S.G. § 1B1.10 in calculating
10   defendant’s base offense level because the court relied on the 2015 United States Sentencing
11   Guidelines Manual, “which incorporated all relevant guideline amendments, including the
12   reduced base offense levels effected by Amendment 782.” Prior Order, ECF No. 137, at 3.
13   Therefore, Amendment 782 had no post hoc affect on the guideline range applicable to
14   defendant’s case. Id. at 3. Here, apart from his reliance on Hughes, defendant provides no
15   argument based on a more recent guidelines amendment that would necessitate a departure from
16   the court’s prior order.
17                  For these reasons, consistent with those articulated in the court’s prior order,
18   defendant Lopez Sanchez’s second motion to reduce sentence, ECF No. 150, is DENIED.
19                  IT IS SO ORDERED.
20   DATED: July 1, 2019.
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22                                               UNITED STATES DISTRICT JUDGE
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